 AO 24SB (Rev. 11/16)   Judgment in a Criminal Case
                        Sheet 1




                                              United States District Court
                                                         District of Massachusetts
               UNITED STATES OF AMERICA                                          JUDGMENT IN A CRIMINAL CASE
                                     V.


                           CHAD BENJAMIN                                         Case Number: 1: 18 CR 10262                  -   1     -   IT
                                                                                 USM Number:             25559-038

                                                                                   Leonard E. Miiiigan III
                                                                                 Defendant's Attorney
 THE DEFENDANT:

 0 pleaded guilty to count(s)             1

 • pleaded nolo contendere to count(s)
    which was accepted by the court.
 • was found guilty on count(s)
    after a plea of not guilty.

 The defendant is adjudicated guilty of these offenses:

 Title & Section                    Nature of Offense                                                        Offense Ended            Count
21 U.S.C. § 841(a)(1)             Distribution of 28 Grams or More of Cocaine Base                             06/28/18
21 U.S.C. § 841(b)(1)
 (B)




        The defendant is sentenced as provided in pages 2 through                        of thisJudgment. The sentence is imposed pursuant to
 the Sentencing Reform Act of 1984.
 • The defendant has beenfound not guiltyon count(s)
 • Count(s)                                              •   is    • aredismissed on the motion of theUnited States.
         It isordered that the defendant must notify the United States attorney for this district within 30days of any change of name, residence,
 ormailing address until all fines, restitution, costs, and special assessments imposed bythis judgment arefully paid. Ifordered topay restitution,
 the defendant mustnotify the courtand United States attorney of material changes in economic circumstances.
                                                                          11/5/2019
                                                                        Date of Imposition of Judgment




                                                                        Signature of Judge

                                                                                 Indira Talwani,
                                                                                 U.S. District Judge
                                                                        Name and Title of Judge


                                                                                 //
                                                                        Date
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                        Sheet2 — Imprisonment
                                                                                                       Judgment — Page      of
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                                                              IMPRISONMENT

           Thedefendant is hereby committed to thecustody of theFederal Bureau of Prisons to be imprisoned for a total
term of:            6    year(s)




     Q The courtmakes the following recommendations to the Bureau of Prisons:

  The court recommends defendant participate in a GED program, job training, mental heaith counseling, and the Residential
  Drug Abuse Program (RDAP).


     H The defendant is remanded to the custody of the United StatesMarshal.

    •    The defendant shall surrender to the United States Marshal for this district:

         •     at                                •     a.m.     •    p.m.    on
         •     as notified by the United States Marshal.

    •    Thedefendant shall surrender for service of sentence at theinstitution designated bythe Bureau of Prisons:
         •     before 2 p.m. on

         •     as notified by the United States Marshal.
         •     as notified by the Probation or Pretrial Services Office.


                                                                     RETURN

I have executed this judgment as follows:




         Defendant delivered on                                                           to


                                                     , with a certified copy of this judgment.



                                                                                                    UNITED STATES MARSHAL



                                                                            By
                                                                                                 DEPUTY UNITED STATES MARSHAL
AO 24SB (Rev. 11/16) Judgment in a Criminal Case
                       Sheet3 — Supervised Release
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DEFENDANT: CHAD BENJAMIN
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                                                          SUPERVISED RELEASE

Upon releasefrom imprisonment, you will be on supervised releasefor a term of:                           5   year(s)




                                                     MANDATORY CONDITIONS

1.      You must not commit another federal, state or local crime.
2.      You must not unlawfiilly possess a controlled substance.
3.      You must refrain from anyunlawful useof a controlled substance. You must submit to onedrug testwithin 15days of release from
        imprisonment and at leasttwoperiodic drugtests thereafter, as determined by the court.
               • Theabove drug testing condition is suspended, basedon the court's determination thatyou
                  pose a low risk of future substance abuse, (check ifapplicable)
         0 Youmustcooperate in the collection of DNAas directed by the probation officer, (check ifapplicable)
         • You must comply with the requirements ofthe Sex Offender Registration and Notification Act (42 U.S.C. § 16901, etseq.) as
            directed bytheprobation officer, theBureau of Prisons, or any state sex offender registration agency inthelocation where you
           reside,work, are a student,or were convictedof a qualifying offense, (check ifapplicable)
         • You mustparticipate in an approvedprogramfor domestic violence, (check ifapplicable)


You must comply with thestandard conditions thathave been adopted bythis court as well as with anyother conditions ontheattached
page.
AO 245B (Rev. 11/16)    Judgment in a Criminal Case
                       Sheet3A— Supervised Release
                                                                                              Judgment—Page         z
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                                        STANDARD CONDITIONS OF SUPERVISION
Aspartofyoursupervised release, youmust comply \vith thefollowing standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while onsupervision and identify the minimum tools needed byprobation
officers to keep informed, reportto the courtabout, and bringaboutimprovements in yourconduct and condition.
1.   You must report to theprobation office inthefederal judicial district where you areauthorized to reside within 72hours ofyour
     release from imprisonment, unless theprobation officer instructs youto report to a different probation office or within a different time
     frame.
2.   After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
     when youmust report to the probation officer, andyoumust report to theprobation officer as instructed.
3.   You must not knowingly leave the federal judicial district where you are authorized toreside without first getting permission from the
     court or the probation officer.
4.   You must answer truthfully thequestions asked byyourprobation officer.
5.   You must live ata place approved bythe probation officer. Ifyou plan to change where you live oranything about your living
     arrangements (such as the people you live with), you must notify the probation officer at least 10days before the change. If notifying
     the probation officer in advance is notpossible dueto unanticipated circumstances, you must notify theprobation officer within 72
     hoursof becoming aware of a change or expectedchange.
6. You must allow the probation officer tovisit you atany time atyour home orelsewhere, and you must permit the probation officer to
     take anyitems prohibited by the conditions of yoursupervision thatheor she observes in plainview.
7.   You must work full time (atleast 30 hours perweek) ata lawful type ofemployment, unless the probation officer excuses you from
     doing so. If you donothave full-time employment you must tryto find full-time employment, unless theprobation officer excuses
     you from doing so.If you plan to change where you work or anything about your work (such asyour position oryour job
     responsibilities), youmust notify the probation officer at least 10days before thechange. If notifying theprobation officer at least 10
     daysin advance is not possible due to unanticipated circumstances, youmustnotify the probation officerwithin 72 hours of
     becoming aware of a change or expected change.
8.   Youmust notcommunicate or interact with someone you know is engaged in criminal activity. Ifyou know someone has been
     convicted ofa felony, you must notkno\vingly communicate or interact with that person without first getting the permission of the
     probation officer.
9.  Ifyouarearrested or questioned by a lawenforcement officer, youmust notify theprobation officer within 72 hours.
10. You must notown, possess, orhave access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
    designed, or was modified for, the specific purpose of causing bodilyinjury or death to another personsuch as nunchakus or tasers).
11. Youmust not act or make anyagreement witha lawenforcement agency to act as a confidential human source or informant without
     first getting the permission of the court.
12. If theprobation officer determines thatyou pose a risk to another person (including an organization), theprobation officer may
    require you to notify theperson about theriskandyoumust comply with thatinstruction. Theprobation officer may contact the
     person and confirm that you have notified the person about the risk.
13. You must follow theinstructions of theprobation officer related to theconditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me onthe conditions specified bythe court and has provided me with a written copy ofthis
judgment containing these conditions. Forfurther information regarding these conditions, see Overview ofProbation andSupervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                   Date
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                      Sheet3D— Supervised Release

DEFENDANT: CHAD BENJAMIN
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                                       SPECIAL CONDITIONS OF SUPERVISION



   1. You are to reside In a Residential Re-Entry Centerfor a period of up to 6 months or until suitable housing has been
   approved by probation, and must observe the rules of that ifacility.
   2. You mustparticipate in a program for substance abuse counseling as directed bythe Probation Office, which program
   may include testing, not to exceed 104 drugtests per year to determine whetheryou have reverted to the use of drugs.
   3. You must participate in a mental health treatment program as directed by the Probation Office.
   4. You must participate in a vocational services training program, as directed bythe Probation Office. Such program may
   includejob readiness training and/or skillsdevelopment training.
   5. You shall be required to contribute to the costs of evaluation, treatment, programming, and/or monitoring (see Special
   Conditions # 1-4), based on the ability to pay or availability of third-party payment.
   6. You are precluded from entering the Cityof Brockton without the express permission of the U.S. Probation Office. This
   restriction does not precludedefendant from traveling by motor vehicle on any of the roads bordering Brockton, MA. This
   geographic restriction is subject to modification by the courtupon motion from either party.
   7. You mustcomply with a daily curfew 8:00 p.m. to 5:00 a.m. forthe first twelve monthsafter yourrelease from prison or
   any community corrections confinement.

   The court recommends your participation in the Probation Department's RESTART program.
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                       Sheet 5 — Criminal Monetary Penalties
                                                                                                            Judgment — Page
 DEFENDANT: CHAD BENJAMIN
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                                               CRIMINAL MONETARY PENALTIES

      The defendant must pay the total criminal monetary penalties underthe schedule of payments on Sheet6.

                       Assessment                   JVTA Assessment*                                              Restitution
 TOTALS            $ 100.00



 •    The determination of restitution is deferred until                       . An Amended Judgment in a Criminal Case(A0 245C) will be entered
      after such determination.


 •    The defendant must make restitution (including community restitution) to the following payees in theamount listed below.

      Ifthe defendant makes a partial payment, each payee shall receive an approximatelyproportioned payment, unless specified otherwise in
      thepriority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
      before the United States is paid.

 Name of Payee                                                           Total Loss**              Restitution Ordered          Priority or Percentaee




 TOTALS                                                                                     0.00    $




 •     Restitution amount ordered pursuant to plea agreement $
 •     The defendant must pay interest on restitution and a fine of more than $2,500, unless therestitution or fine is paid infull before the
       fifteenth day afterthe date of thejudgment, pursuant to 18U.S.C. § 3612(f). All of the payment options on Sheet6 maybe subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 •     The court determined that the defendant does not have the ability to pay interest and it is ordered that:
       •   the interest requirement is waived for the           •       fine   •   restitution.

       •   the interest requirement for the         •    fine       •     restitution is modified as follows:

 * Justice for Victimsof TraffickingAct of 2015, Pub. L. No. 114-22.
 ** Findings for the total amount oflosses are required under Chapters 109A, 110, 1lOA, and 113A of Title 18 for offenses committed on or
 after September 13, 1994, but before April 23, 1996.
AO 245B(Rev. 11/16)   Judgment in a CriminalCase
                      Sheet6 — Schedule of Payments
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                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant's ability topay, payment of the total criminal monetary penalties is due asfollows:
A     0    Lump sum payment of$          100.00                due immediately, balance due

           •    notlaterthan                                       ,or
           •    in accordance with •        C,    •    D,     •     E, or     • F below; or

B     •    Payment tobegin immediately (may becombined with                 DC,         • D, or      • F below); or
C     •    Payment in equal                        (e.g., weekly, monthly,quarterly) installments of $                             over a period of
                          (e.g.. months oryears), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

D     •    Payment in equal                        (e.g., weekly, monthly, quarterly) installments of $                         over a period of
                          (e.g., months oryears), to commence                        (e.g., 30 or 60 days)after release from imprisonment to a
           term of supervision; or

E     •    Payment duringthe term of supervised releasewill commence within                               (e.g., 30 or 60 days) after release from
           imprisonment. The court will setthe payment plan based onanassessment ofthe defendant's ability topay atthat time; or
F     •    Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, ifthisjudgment imposes imprisonment, payment ofcriminal monetary penalties isdue during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for allpayments previously made toward any criminal monetary penalties imposed.



•     Joint and Several

      Defendant andCo-Defendant Names and Case Numbers (including defendant number). Total Amount, JointandSeveral Amount,
      and corresponding payee, if appropriate.




•     The defendantshall pay the cost ofprosecution.

•     The defendant shall pay the following courtcost(s):

•     The defendant shall forfeit thedefendant's interest in thefollowing property to the United States:


Payments shall beapplied inthefollowing order: (1)assessment, (2) restitution principal, (3)restitution interest, (4)fine principal, (5) fine
interest, (6)community restitution, (7)JVTA assessment, (8)penalties, and(9)costs, including costof prosecution and court costs.
